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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

National Collegiate Athletic Association Student−Athlete
Concussion Injury Litigation, et al.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          1:13−cv−09116
                                                                          Honorable John
                                                                          Z. Lee
National Collegiate Athletic Association
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 15, 2015:


       MINUTE entry before the Honorable John Z. Lee:NCAA's motion for an
extension of time to file their response to the first objections to plaintiffs' motion for
preliminary approval of class settlement [185] is granted; the response is due by 6/22/15.
No appearance is required on the motion.Mailed notice(ca, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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